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paso a'\./W.»l.¢/;-»___o.c.
IN THE UNITED STATES DISTRICT COURT

FoR THE WESTERN DISTRICT oF TENNES§§§EP '2 AH'|O= 05
EASTERN DivisroN

 

NERISSA DeBERRY, as parent
and next friend Of THARRON
EUGENE POLLARD,

Plaintiff,
VS. NO. 04-124l-T-P
THE BOARD OF EDUCATION
OF TI-IE HENDERSON COUNTY
SCHOOLS, et al.,

Det`endants.

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ORDER GRANTING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
ON § 1933 CLAIMS AND REMANDING STATE LAW CLAIMS

 

Plaintiff Nerissa DeBerry filed this action on behalf of her son, Tharron Eugene
Pollard, in the Circuit Court of Henderson County, Tennessee. Plaintiff brought various
state law claims and a claim pursuant to 42 U.S.C. § 1983 against the Henderson County
Board of Education ("School Board"), Superintendent Susan Bunch, former Superintendent
Jimmy Fesmire, Dr. Reggie Henderson, chairman of the Henderson County Schools, David
Weatherford, individually and as principal of Pin Oak Elernentary School, and Jerry Graves,
individually and as educational assistant at Pin Oak Elementary School. Defendants
removed the action to this court under 28 U.S.C. § 1441. Defendants have now filed a

motion for summary judgment Plaintiff has not responded to the motion. For the reasons

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with laura 53 and,'or_?s (a) FRcP on _M.Q___

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set forth below, Def`endants’ motion is GRANTED on the § 1983 claims, and the state law
claims are REMANDED to the Henderson County Circuit Court.

Motions for summary j udgment are governed by Ru]e 56 of the Federal Rules ofCivil
Procedure. To prevail on a motion for summary judgment, the moving party has the burden
of showing the “absence of a genuine issue of material fact as to an essential element of the
nonmovant's case.” Streetv. J.C. Bradford & Co.. 886 F.Zd 1472, 1479 (6th Cir. l989). The
moving party may support the motion with affidavits or other proof or by exposing the lack
of evidence on an issue for which the nonmoving party will bear the burden of proof at trial.
Celotex Coro. v. Catrett, 477 U.S. 317, 324 (1986). The opposing party may not rest upon
the pleadings but, “by affidavits or as otherwise provided in this rule, must set forth specific
facts showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e).

“If the defendant . . . moves for summary judgment . . . based on the lack of proof of
a material fact, . . . [t]he mere existence of a scintilla of evidence in support of the plaintiffs
position will be insufficient; there must be evidence on which the jury could reasonably find
for the plaintiff.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986). The court's
function is not to weigh the evidence, judge credibility, or in any way determine the truth
of the matter, however. Anderson, 477 U.S. at 249. Rather, “[t]he inquiry on a summary
judgment motion . . . is . . . ‘whether the evidence presents a sufficient disagreement to
require submission to a [trier of fact] or whether it is so one-sided that one party must prevail

'as a matter of law.”’ Street, 886 F.2d at 1479 (quoting Anderson, 477 U.S. at 251-52).

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Doubts as to the existence of a genuine issue for trial are resolved against the moving party.
Adickes v. S. H. Kress & Co., 398 U.S. 144, 158-59 (1970).

If a party does not respond to a motion for summary judgment, the Federal Rules of
Civil Procedure provide that “summary judgment, if appropriate, shall be entered against
him.” Fed. R. Civ. P. 56(e). The fact that Plaintiff did not respond does not require granting
Defendants’ motion. However, if the allegations of the complaint are contravened by
Defendants’ affidavits and Defendants are entitled to judgment as a matter of law on those
facts, then summary judgment is appropriate Wilson v. City of Zanesville, 954 F.Zd 349,
351 (6‘h Cir. 1992).

Section 1983 Claims

The complaint alleges as follows: Tharron Eugene Pollard1 was enrolled in the
Henderson County School System at Pin Oak Elementary School. On September 3, 2003,
while in the class of Defendant Jerry Graves, Tharron raised his hand "to obtain assistance."
Cornplaint at 7. Defendant Graves told Tharron to lower his hand. Tharron did not do so
because "he still had a question and did not understand the material he had been given." I_d.
Defendant "physically lifted" Tharron, "pushed him into the middle of the classroom," and
then “physically ejected him into the hallway." I_d. at 8. In the hallway, Tharron was

"grabbed, shaken, pushed, pulled, and thrown against the wall“ by Defendant IL

 

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Tharron is now deceased

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The complaint further alleges that the incident was reported to Defendant David
Weatherford, who was principal of the school. Defendant Weatherford investigated the
matter and summarized the results of his investigation as follows:

After talking to Mr. Graves it was discovered that this student [Tharron] had

been a source of contention for several weeks. The child was expelling gas,

turning around in his seat, raising his hand to ask questions that drew attention

to him and generally disrupting class.

Mr. Graves stated that he took the student by the arm and escorted him out of

the class to talk to him. In his opinion, he did not exert enough force to inflict

any pain or harm to this child.

Further investigation found that some students felt that Mr. Graves may have

been more forceful than he realized. They stated that the student was pulled

from the desk and taken to the hall.

Since there seems to be great contention between this student and the teacher,

he has been transferred to class 7A. The constant acts of misbehavior appear

to have created a lack of tolerance. This can be substantiated by problems that

other teachers have also sited [sic] about this child.

Plaintiff’ s Exhibit B to Cornplaint.

Defendant Weatherford determined that Tharron should be moved to another class
and not have any contact with Defendant Graves, unless another staff person was present
Defendant Weatherford apologized for "this incident." id at Exhibit A. Defendant Graves
was told to "refrain from laying hands upon any student.“ Id_. at Exhibit B.

Plaintiff and her husband presented a written letter of complaint to the Henderson

County School Board on October 10, 2003. In that letter, they objected to the “vague letter

of disciplinary action” that was placed in “Mr. Graves’ folder.” E_. at Exhibit C.

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On December 3, 3003, the School Board determined that there was “not sufficient
evidence to warrant Mr. Jerry Graves’ suspension or removal from his teaching position,”
although Defendant “Graves did forcibly remove Tharron from his seat and forcibly escorted
Tharron into the hallway." § at Exhibit D. The School Board further found that Defendant
“Graves attempted to deal with a situation while angry and did not handle the situation in
the most desirable manner.” Ld. The School Board could not substantiate that the bruise on
Tharron’s right arm was the result of this incident because the “majority of the interviewees
said that Mr. Graves forcibly removed Tharron by the left arm.” Id. The School Board
concluded that Defendant Graves’ disciplinary procedures should be “monitored for the
remainder of [the] school year.” I_d.

The Henderson County Sherist Department was notified of the incident on
September 6, 2003. The Sherist Dep artment “put [their] criminal investigation concerning
the matter on hold pending the outcome of [the School Board’s] findings internally.” Ld. at
Exhibit E. The complaint alleges that, because of the delay in the School Board’s
investigation, the findings of the Sheriff’s Department could not be presented to a judge or
magistrate within fifteen days as required by T.C.A. § 49-6-4105, “Arrest and prosecution
for injury to student.”

In addition to various state law claims, Plaintiff alleges that Defendants’ actions
violated Tharron’s civil rights under 42 U.S.C. § 1983. Plaintiff alleges that Defendant

Graves violated Tharron’s civil rights by subjecting him to “physical assault and battery,

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Complaint at 27, and that Defendants School Board, Weatherford, Bunch, and Fesmire
violated his civil rights by failing to supervise, train, and remove Defendant Graves from his
position with the school. Plaintiff also alleges that Defendants “knew that criminal charges
would not be pressed without their consent” and “went so far as to reach an agreement with
law enforcement to prevent the filing of formal charges and/or arrest of defendant Graves.”
Complaint at 35.

Section 1983 imposes liability on any person who, under color of state law, deprives
a person “of any rights, privileges, or immunities secured by the Constitution and laws.” To
establish a claim under § 1983, plaintiff must allege and ultimately prove that (l) the
defendant deprived him of a right secured under the United States Constitution or federal
law, and (2) such deprivation occurred under color of state law. Haines v. Saginaw Police
_D_epL, 35 F.3d 565 (6th Cir.1994). “Unless a deprivation of some federal constitutional or
statutory right has occurred, § 1983 provides no redress even if the plaintiffs common law
rights have been violated and even if the remedies available under state law are inadequate.”
Lewellen v. Metropolitan Gov't of Nashvilie, 34 F.3d 345, 347 (6‘h Cir.1994).

In the present case, Tharron was allegedly deprived of his Fourth Amendment right
to be protected against unreasonable searches and seizures2 Under the Fourth Amendment,
a seizure occurs when a government official restrains a person’s freedom of movement in

such a way that a reasonable person in the same position would not feel free to walk away.

 

2 This amendment has been incorporated into the Due Process Clause of the Fourteenth Amendment and,
thus, applies to state actors. See, e.g., Mapp v. Ohio, 367 U.S. 643 (1961).

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See. e.a., Elwoski v. CitV of Brunswick, 287 F.3d 492, 506 (6“‘ Cir. 2002) (citing Michigan
v. Chesternut, 486 U.S. 567, 573 (1988)). Plaintiff bases her claims ofFourth Amendment
violations on the alleged seizure of Tharron when Defendant Graves took his arm and
removed him from the classsroom and the alleged battery that Tharron suffered in the school
hallway.

In his deposition, Defendant Graves described the incident in question as follows.
Tharron "was disturbing the class by passing gas," so they "went outside and [Defendant]
talked to [Tharron]." Graves Depo. at p. 9. Defendant asked Tharron "not to do that
anymore because it was hard to have class." l_d_; Defendant escorted Tharron from the
classroom by touching his wrist. Ld. at p. 1(). Defendant did not pick up or lift Tharron, i_d__.,
or shove him against a locker in the hallway. Ld. Because Plaintiff has not refuted
Defendant Graves’ testimony as to the events in the hallway, Plaintiff cannot base her claim
on allegations concerning the hallway events.3

Although Defendant Graves denies using any kind of force to remove Tharron from
the classroom, other than touching his wrist, the School Board determined that there was
evidence that Defendant "forcibly removed Tharron from his seat" and "forcibly escorted

Tharron into the hallway," although the School Board could not determine that Tharron

 

3 The only eyewitnesses to the incident were Defendant Graves and Tharron. Tharron’s deposition was,
apparently, not taken before his untimely death.

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received any physical injuries from the incident4 Defendants’ Exhibit E.

Although there is a dispute as to whether Defendant used some kind of force to
remove Tharron from the classroom or merely took him by the wrist, this court cannot find
that a teacher’s pulling a disruptive student5 from his seat and pushing him into the hallway,
g Plaintiff" s Depo. at p. 41, without any injuries, is the type of conduct prohibited by the
Fourth Amendment. _S_§g Nolan v. Isbell, 207 F.3d 1253 (11th Cir,2000) (“the application
of de minimus force, Without more, will not support a claim for excessive force in violation
of the Fourth Amendment” ); Carter v. Morris, 164 F.3d 215 (4"‘ Cir.1999) (claim that
handcuffs were too tight was too insubstantial to state a claim of excessive force under the
Fourth Amendment); Skinner v. CitV of Miami,62 F.3d 344 (11th Cir.l995) (“Skinner has
proven that he was assaulted-that, however, is a tort created by state law, and not necessarily
a violation of a constitutional right. Skinner has failed to show a violation of any right
secured by federal law either under the Constitution or a federal statute.”).

At most, Plaintiff has state law claims against Defendant Graves. Consequently, the
motion for summary judgment as to Defendant Graves in his individual capacity under §
1983 is granted

Defendant Weatherford is also sued in his individual capacity for negligently

 

4 In her deposition, Plaintiff testified that she noticed a spot on Tharron’s back that was bleeding after the
incident but Tharron did not know how he had gotten the injury. Plaintiff`s Depo. at p. 48` Several days later,
Plaintiff observed scratches on Tharron’s arms and back; however, there is no evidence that the scratches were
made by Defendant Graves. _I£ll at 46-47.

5 Plaintiff has not refuted Defendant Graves’ testimony that Tharron was making rude noises in the
classroom.

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supervising Defendant Graves. Plaintiff alleges that there had been "numerous complaints
filed against [Defendant Graves] for inappropriate conduct, inappropriate physical contact
and verbal abuse of students in his class " Complaint at 23. ln her deposition, Plaintiff stated
that, two years prior to this incident, she had seen Defendant Graves (1) “humiliate“ students
walking in the hallway by asking them "Don’t you know how to walk? Can’t you walk
right," Plaintiff" s Depo. at p. 21, and (2) push a student I_d_. at p. 26. Plaintiff testified that
she told Defendant Weatherford about the pushing incident IL at pp. 24-25.

When a plaintiff seeks to hold a school administrator individually liable for a
constitutional injury caused by someone else, “supervisory liability” Standards apply to the
claim. Doe v. Citv of Roseville. 296 F.3d 431, 43 8-39 (6th Cir.2002). Supervisory liability
under § 1983 must be based on “active unconstitutional behavior”; thus, the “mere failure
to act” is insufficientl Shehee v. Luttrell, 199 F.3d 295, 300 (6th Cir.1999) (citation
omitted).“[T]here must be a direct causal link between the acts of individual officers and the
supervisory defendants.” Hays v. Jefferson County, 668 F.2d 869, 872 (6"1 Cir.l982).

In addition, a claim of failure to supervise under § 1983 cannot be based on simple
negligence l_d_. (“[S]imple negligence is insufficient to support liability of high police
officials and municipalities for inadequate training, supervision, and control of individual
officers.”).

[A] failure of a supervisory official to supervise, control, or train the

offending individual officers is not actionable absent a showing that the

official either encouraged the specific incident of misconduct or in some way
directly participated in it. At a minimum a plaintiff must show that the official

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at least implicitly authorized, approved, or knowingly acquiesced in the
unconstitutional conduct of the offending officers

I_d. at 874.

Supervisory liability will attach if the defendants possessed information revealing a
“strong likelihood” of unconstitutional conduct by subordinates but did nothing to prevent
the misconduct, thereby causing harm to the plaintiffs City of Roseville, 296 F.3d at 439;
Doe v. Claiborne County, Tenn., 103 F.3d 495, 513 (6th Cir.l996). A defendant cannot be
found liable if he was merely “sloppy, reckless or negligent in the performance of [his]
[supervisory] duties.” City of Roseville, 296 F.3d at 439. lnstead, a “plaintiff must show
that, in light of the information the defendants possessed, the teacher who engaged in sexual
abuse showed a strong likelihood that he would attempt to sexually abuse other students,
such that the failure to take adequate precautions amounted to deliberate indifference to the
constitutional rights of students.” LI. (quotations omitted).

In the present case, Plaintiff has not alleged that Defendant Weatherford’s liability
is based on “active unconstitutional behavior.” Instead, she bases her claim against
Defendant on his alleged “failure to act,” which is insufficient for supervisory liability under
§ 1983. Consequently, Defendant Weatherford, in his individual capacity, is entitled to
summary judgment

Defendants have moved for summary judgment on the claims brought against them

in their official capacities6 Actions for damages against a defendant in his official capacity

 

6 Defendants Graves and Weatherford were the only two defendants sued in their individual capacities

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are in essence actions against the governmental entity. Monell v. Department of Social
M, 436 U.S. 658 , 690 n. 55 (1978). Therefore, “[t]here is no longer a need to bring
official-capacity actions against local government officials, for local government units can
be sued directly for damages and injunctive or declaratory relief.” Kentucky v. Graham, 473
U.S. 159, 167 n. 14 (1985). Here, the official capacity designation is redundant because
Plaintiffs have also named as a defendant the government entity. Therefore, the motion for
summary judgment as to the official capacity claims brought against the individual
defendants is granted

Plaintiff’s claims against Defendant School Board must be dismissed because it
cannot be held liable for the actions of its employees merely on the theory of respondeat
superior. The Sixth Circuit Court of Appeals has held that respondeat superior is not a basis
for imposing liability on local governments White v. Gerbitz, 892 F.2d 457, 462 (6th Cir.
1989); Foster v. Walsh, 864 F.2d 416, 419 (6th Cir. 1988). Local governments cannot be
sued under the civil rights statutes for the actions of their agents unless the actions represent
official government policy or custom.7 Dorsev v. Citv of Detroit, 858 F.2d 33 8, 345 (6"‘ Cir.

1988) (quoting Monell v. Department of Social Servs., 436 U.S. 658, 694 (1978)). Here,

 

7 Section 1983 liability need not be predicated upon written policies, but may arise from custom. Monell,
436 U.S. at 690-91. "A municipal ‘custom’ may be established by proof of the knowledge of policymaking officials
and their acquiescence in the established practice." Memphis, Tenn. Area Local, Am. Posta] Workers Union v. City
of Memphis, 361 F.3d 898, 902 (6lh Cir.2004). For a custom to give rise to Monell liability, the custom "must ‘bc so
permanent and well settled as to constitute a custom or usage with the force of law.’ " Doe v. Claiborne Coung,
103 F.3d 495, 507 (6“‘ Cir.l996) (quoting Monell, 436 U.S. at 691). Such a custom "must include ‘[d]eeply
embedded traditional ways of carrying out state policy.’ " I_d. (quoting Nasbville, Chattanooga & St. Louis Rv. Co.
v. Browning, 310 U.S. 362, 369 (1940)).

 

 

 

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Plaintiff has not alleged that the actions of Defendant School Board’s employees were taken
pursuant to an official government policy or custom.

However, if Plaintiff had made such an allegation, she has failed to meet the
standards set forth in Doe v. Claiborne Countv Bd. of Educ.. 103 F.3d 495 (6“' Cir. 1996),
a teacher harassment case. ln that case, after noting that § 1983 municipal liability requires
proof of an unconstitutional policy, the court said:

ln addition to showing that the School Board as an entity "caused" the
constitutional violation, plaintiff must also show a direct causal link between
the custom and the constitutional deprivation; that is, she must " ‘show that
the particular injury was incurred because of the execution of that policy.’ "
Garner v. Mernnhis Police Dep't, 8 F.3d 358, 364 (6th Cir.l993)(emphasis
added) (citation omitted), cert. denied,510 U.S. 1177, 114 S.Ct. 1219, 127
L.Ed.2d 565 (1994). This requirement is necessary to avoid de facto
respondeat superior liability explicitly prohibited by Monell.

The analytical difficulty in this case stems from the type of "custom" that the
plaintiff claims directly caused Davis to sexually abuse her. Doe does not
claim that the School Board had a custom of affirmatively condoning sexual
abuse. Clearly, no municipality could have such a policy. Rather, Doe claims
that the custom was to fail to act to prevent the sexual abuse.

To state a municipal liability claim under an "inaction" theory, Doe must
establish:

(1) the existence of a clear and persistent pattern of sexual abuse by school
employees;

(2) notice or constructive notice on the part of the School Board;
(3) the School Board's tacit approval of the unconstitutional conduct, such th at
their deliberate indifference i`n their failure to act can be said to amount to an

official policy of inaction; and

(4) that the School Board's custom was the "moving force" or direct causal

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link in the constitutional deprivation.

See Citv ofCanton v. l-larris, 489 U.S. 378, 388-89, 109 S.Ct.1197,1204~05,
103 L.Ed.2d 412 (1989); see also Thelma D. v. Board of Educ. of Citv of St.
Lo_uis, 934 F.2d 929, 932-33 (8th Cir.l991). The Monell custom requirement
is an essential element of this claim. The evidence must show that the need to
act is so obvious that the School Board's "conscious" decision not to act can
be said to amount to a "policy" of deliberate indifference to Doe's
constitutional rights City of Canton, 489 U.S. at 389, 109 S.Ct. at 1205
"Deliberate indifference" in this context does not mean a collection of sloppy,
or even reckless, oversights; it means evidence showing an obvious, deliberate
indifference to sexual abuse.

 

103 F.3d at 508 (emphasis added). See also Citv of Roseville, 296 F.3d 431 (6th Cir.2002)
(approving analysis articulated in Claiborne).

lt is undisputed that the School Board investigated the incident in question and took
action, such as ensuring that Tharron was not in Defendant Graves’ classroom, monitoring
Defendant’s disciplinary procedures until the end of the school year, and placing a letter in
Defendant’s personnel file. lt is also undisputed that Plaintiff received an apology from
school officials Plaintiff’ s complaint with the investigatory process were that (1) it took too
long and (2) she believed that Defendant Graves should have been terminated Plaintiff’s
Depo. at p. 67~69.

Despite Plaintiff’s dissatisfaction with the results of the investigation, she has not
shown that the School Board showed deliberate indifference to Tharron’s constitutional
rights She has also not shown that the School Board had a custom or policy of ignoring or
acquiescing in physical abuse of students by teachers or that the School Board was aware

of any complaints about Defendant Graves, other than the one that she herself made

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Therefore, the School Board is entitled to summary judgment on the § 1983 claim.

Plaintiff also claims that Defendants "reached an agreement with law enforcement
to prevent the filing of formal charges and/or arrest of defendant Graves." Complaint at 35.
As evidence of this agreement, Plaintiff has attached a letter written to Defendant Fesmire
by the Henderson County Sheriff. The letter states that Sheriff Lunsford put the criminal
investigation "on hold" pending the outcome of the School Board’s investigation Exhibit
E to Complaint. Thus, Plaintiff" s own evidence belies her allegation

Because the only evidence before the court concerning this allegation is this letter
and because there is no rebutting evidence that Defendants asked Sheriff Lunsford to delay
his investigation or that Defendants had any control over Sheriff Lunsford’s actions,
Defendants are entitled to summary judgment on this claim.

Defendants have moved to dismiss Plaintiff‘s demand for punitive damages against
the School Board ln Citv of Newoort v. Fact Concerts. lnc., 453 U.S. 247 (1981), the
United States Supreme Court held that punitive damages could not be awarded against local
governments Because the School Board is a governmental entity, punitive damages cannot
be awarded against it. Therefore, Plaintiff‘s demand for punitive damages against the School
Board is dismissed

Defendants have refuted Plaintiff’ s allegations that they violated Tharron’s
constitutional rights. Consequently, they are entitled to summary judgment on the claims

brought pursuant to 42 U.S.C. § 1983.

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State Law Claims

Defendants have also moved for summary judgment on Plaintiff’s state law claims
Because the § 1983 claims have been dismissed there is no longer any basis for federal
jurisdiction over this action, and the court declines to exercise supplemental jurisdiction over
the remaining state law claims _S_ee Federal Deposit lnsurance Co;p. v. Mulkey, 1989 WL
1565 72 (9th Cir.) (Although removal was proper after the lRS was brought in as a third party
defendant, the district court subsequently dismissed the claims against the lRS and then
refused to exercise supplemental jurisdiction and remanded the case to state court. “The
district court acted consistently with the law in this circuit. We have held that it is
inappropriate for a district court to retain jurisdiction solely for the purpose of deciding
pendent state claims.”); Mc§luain v. Ebner Furnaces, lnc., 55 F. Supp.2d 763 (N.D. Ohio
1999) (28 U.S.C. § 1447 provides that “[i]f at any time before final judgment it appears that
the district court lacks subject matter jurisdiction the case shall be remanded.” Therefore,
after dismissing the federal claims, the court declined to exercise supplemental jurisdiction
over the state law claim and remanded the claim to state court.); lacobs v. District Director
of Internal Revenue, 217 F. Supp. 104, 106 (S.D.N.Y.l963) (“While dismissal of the
complaint is the usual procedure where a court lacks jurisdiction over the subject matter, the
better course in a removed action is to remand the suit to the state court from which it was

removed.”)

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ln summary, Defendants’ motion for summary judgment on the claims brought
pursuant to 42 U.S.C. § 1983 is GRANTED. The remaining state law claims are hereby
REMANDED to the Circuit Court of Henderson County, Tennessee. The clerk is directed
to enter judgment accordingly

IT lS SO ORDERED.

@Wz>-M

JA D. TODD

 

ED STATES DISTRICT JUDGE
/ W//) Q-a~as'"
DATE '

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Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 1:04-CV-01241 was distributed by fax, mail, or direct printing on
September 6, 2005 to the parties listed

ESSEE

 

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Honorable .l ames Todd
US DlSTRlCT COURT

